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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS
                                  AT KANSAS CITY

TITAN FOWLES                                  )
f/k/a Don Robert Curtis                       )
                                              )
                               Plaintiff,     )
                                              )       Case No. 2:19-cv-02222 -KHV-GEB
v.                                            )
                                              )
ATCHISON AUTOMOTIVE PLAZA,                    )
INC.                                          )
d/b/a LEWIS CHEVROLET BUICK                   )
                                              )
                               Defendant.     )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       COMES NOW, the Parties, by and through their respective counsel of record, and

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to the dismissal of all claims and

causes of action in this case with prejudice. Parties shall bear their own fees and costs.




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Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was filed with the Court’s CM/ECF e-Filing system on February 3, 2020, and thereby served
upon all attorneys of record.

                                                  /s/ Mark W. Schmitz




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